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                  EXHIBIT B
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                                             September 8, 2023

 Mayor Michelle Kaufusi
 City Hall
 445 W Center St Suite 500
 Provo, UT 84601

 RE: Introduction and Information about Singularism's Entheogenic Religious Practices

 Dear Mayor Michelle Kaufusi:

 I hope this letter finds you well. My name is Tanner J. Bean and I represent Singularism, a
 spiritual wellness center and religious non-profit organization. I am writing to establish an
 open line of communication between Singularism and your department.

 My client asked me to convey its gratitude for introducing the four Provo Pillars and your
 commitment to strengthening foundational principles while positioning Provo for growth.
 Singularism deeply appreciates these ideals and aspires to contribute significantly.
 Singularism believes it can enhance Provo's pillars: Welcoming, Safe & Sound,
 Economically Vibrant, and Forward-looking. Singularism's leadership has discussed ways to
 meaningfully contribute, and it is eager to do so.

 This letter is also meant to provide insight into Singularism's entheogenic religious
 practices and to foster mutual understanding and cooperation with your office as they have
 recently established a wellness center to hold their counseling sessions and spiritual
 ceremonies in Provo. The founders and organizers are hoping for an endorsement of
 support for their practice from you or your office, seeing how they have shared goals with
 your four Provo pillars.

 Singularism is an entheogenic religious organization consistent with Provo’s pillars and is
 committed to fostering spirituality, self-discovery, and inclusion. Singularism’s founders and
 members are sincere and they practice safe religious ceremonies necessary to their spiritual
 beliefs.

 Singularism understands that the state of Utah, including Utah County, and Provo City has
 a rich history of recognizing and safeguarding the religious rights of various communities,
 such as those of Native American groups and other entheogenic religious organizations.
 This recognition reflects the diversity and inclusivity that underpins our society's core
 values, and Provo’s Pillars. Furthermore, Utah's own history is intertwined with religious
 practices that were considered unconventional at the time they were founded, thereby
 underscoring the importance of upholding and respecting constitutional rights.
 Singularism’s practices are conducted consistent with the protections granted by the First
 Amendment of the United States Constitution, Article 1, Section 4 of the Utah Constitution,
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 the Religious Freedom Restoration Act, and the Religious Land Use and Institutionalized
 Persons Act.

 My client respectfully asks for your compassionate tolerance of its religion and acceptance
 of its presence in Provo City as it exercises its religious rights. It is Singularism’s sincere
 hope and belief that by openly engaging with the community's leadership, it can establish
 a harmonious relationship based on mutual respect and shared goals. At the core of
 Singularism’s 's mission is the creation of a secure and inclusive environment for its
 members to develop their spirituality and practice religious ceremonies for healing.

 Singularism places the utmost emphasis on the safety and well-being of their parishioners
 and members. Their entheogenic practices are meticulously designed, drawing inspiration
 from recognized medical institutions such as Johns Hopkins and Harvard Medical School,
 as well as adhering to many clinical protocols.

 The founders of Singularism acknowledge that their practices may be unfamiliar to some
 and may give rise to sincere questions. They are committed to transparency wherever
 possible. They have asked me to extend an invitation to discuss any question you may
 have and visit their wellness center in Provo, where they intend to practice their religion.
 They value your perspective and believe that through open dialogue, they can address any
 misconceptions the community may have and work together to ensure that their practices
 are conducted safely and in accordance with the law, which the members of Singularism
 deeply respect.

 Again, on behalf of Singularism, the purpose of this letter is to open dialogue and thank
 you for the four Provo Pillars, and to humbly ask for your support of their safe and sincere
 religious activities. Singularism would deeply appreciate a statement of support from you
 or your office of any kind.

 If you wish, please feel free to contact me to schedule a meeting with myself and
 Singularism’s representatives at your convenience. Singularism eagerly anticipated the
 opportunity to discuss its practices and values and to explore avenues of collaboration that
 promote mutual respect and understanding.

 Thank you for your dedication to maintaining a safe and inclusive community. Singularism
 is optimistic that through partnership and dialogue, it can foster an environment that
 respects diversity and upholds individual rights.

                                            Sincerely,




                                            Tanner J. Bean
                                            FABIAN VANCOTT
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                                           September 8, 2023

 Provo City Council
 Provo City Hall
 445 W Center St Suite 420
 Provo, UT 84601

 RE: Introduction and Information about Singularism's Entheogenic Religious Practices

 To Whom It May Concern,

 As legal counsel for a newly organized religious institution, Singularism, I am writing to
 establish communication between Singularism and your offices, to provide insight into
 Singularism's entheogenic religious practices, and to foster mutual understanding and
 cooperation. Singularism seeks further understanding of your office’s policies as it
 believes it has a shared interest in serving the state, county, and city’s well-being.

 Singularism asked me to convey its gratitude for the four Provo Pillars and your
 commitment to strengthening foundational principles while positioning Provo for
 growth. Singularism deeply appreciates these ideals and aspires to contribute
 significantly by being (1) Welcoming, (2) Safe & Sound, (3) Economically Vibrant, and (4)
 Forward-looking. Singularism's leadership has discussed ways to meaningfully
 contribute and is eager to do so though their wellness center.

 Singularism is an entheogenic spiritual organization devoted to nurturing
 self-discovery, spirituality, communal well-being, self-discovery, and inclusion.
 Singularism practices sincere and safe religious ceremonies necessary to their spiritual
 counseling. Singularism has recently established a spiritual wellness center in Provo
 that it hopes will be regarded as an asset to the community. In this space members
 engage in practices that are clinically informed, spiritually motivated, and which help
 individuals in the community.

 Singularism believes the state of Utah, Utah County, and Provo City has a rich history of
 recognizing and safeguarding the rights of various religious communities, such as those
 of Native American groups and other entheogenic spiritual organizations. This
 recognition reflects the diversity and inclusivity that underpins our society's core values.
 Furthermore, Utah's own history is intertwined with religious practices that were
 considered unconventional in the time they were founded, thereby underscoring the
 importance of upholding and respecting individuals' rights to practice their faith when
 done so safely and according to their sincere beliefs and as is necessary according to
 their faith.
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 My client respectfully asks for your compassionate tolerance of their religious practice,
 and for acceptance of their presence in Provo City as they exercise their religious
 liberties and contribute to the diversity and betterment of the city of Provo. It is crucial
 to emphasize that their practices are conducted in alignment with the protections
 granted by the First Amendment of the United States Constitution, Article 1, Section 4
 of the Utah Constitution, the Religious Freedom Restoration Act, and the Religious
 Land Use and Institutionalized Persons Act. It is Singularism’s sincere hope that by
 openly engaging with the community's leadership, it can establish a harmonious
 relationship based on mutual respect and shared goals.

 Singularism’s leadership acknowledges that its practices may be unfamiliar to some and
 may give rise to sincere questions from citizens and government. Singularism is
 committed to the highest standard of transparency possible in its commitment to
 helping the community obtain answers to these questions and concerns.

 At the core of Singularism's mission is the creation of a secure and inclusive
 environment for its members to develop their spirituality and practice religious
 ceremonies for healing. Singularism views your council’s partnership as an opportunity
 to contribute positively to the community and to engage in meaningful dialogue that
 benefits the entire community.

 Singularism’s representatives have asked me to extend an invitation to discuss any
 question you may have. They value your perspective and believe that through open
 dialogue, any misconceptions can be addressed and they can demonstrate that their
 spiritual ceremonies are conducted safely and in accordance with the law, which the
 members of Singularism deeply respect. If you wish, you can contact me to schedule a
 meeting with myself and Singularism’s representatives at your convenience.

 Thank you for your dedication to maintaining a safe and inclusive community.
 Singularism is optimistic that through partnership and dialogue, it can foster an
 environment that respects diversity and upholds individual rights.

                                           Sincerely,




                                           Tanner J. Bean
                                           FABIAN VANCOTT
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                                                                             Tanner J. Bean
                                                                                     Attorney
                                                                                      FCH
                                                                           Tel. 801-323-2266
                                                                     tbean@fabianvancott.com


                                    November 3, 2023

 VIA MAIL & EMAIL

 Utah County Attorney’s Office
 Attn: Chad Grunander & Tim Taylor
 100 East Center Street, Suite 2100
 chadgr@utahcounty.gov
 timt@utahcounty.gov

                      Re: Singularism’s Religious Practices

 Mr. Grunander & Mr. Taylor,

 I write to you today on behalf of my client, Bridger Lee Jensen, founder of Singularism.
 My good friend from law school, Tye Christensen, suggested that you would be good
 contacts at the Utah County Attorney’s Office on this matter, but please forward this
 letter to whomever is most appropriate within your office.

 Mr. Jensen thanks your office for its service to the great state of Utah. Your office’s
 efforts in upholding and enforcing the law have played an integral role in making Utah
 County a safe and secure place to live for all its residents. Singularism, its founder, and
 followers are truly appreciative of the work done by your office and intend to support
 your efforts in any way possible.

 As you may know, Singularism was recently featured in the media and your office was
 referenced as currently developing a position on the matter of Singularism’s legality. I
 have thoroughly consulted with Singularism regarding its spiritual practices and have
 evaluated how those are permitted by the Religious Freedom Restoration Act, the
 Religious Land Use and Institutionalized Persons Act, the First Amendment to the U.S.
 Constitution, and Article 1, Section 4 of the Utah Constitution. Singularism has taken
 every effort to accord with those authorities as well as additional proactive efforts to
 ensure only faithful followers of its practices participate in its closed ceremonies and
 have access to its sacraments. For example, Singularism has thoroughly reviewed the
 seminal memorandum provided by former Attorney General Jeff Sessions, titled
 "Guidance on Federal Law Protections For Religious Liberty," which elucidates
 pertinent exemptions for religious practices akin to those espoused by Singularism.
 Even so, it may be helpful for you to have additional information about Singularism.

 Singularism is a religious organization centered around the safe and sincere use of
 entheogenic substances as part of its spiritual and religious practices. Singularism
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 exercises its rights with profound reverence for the lawful use of entheogenic
 compounds. Cognizant of the fact that Singularism is a recent addition to Utah's
 religious tapestry, Singularism understands that religious minorities often face
 misconceptions and apprehensions. However, with Utah’s history regarding religious
 persecution, our community appears more sensitive to viewpoints and needs of
 minority faiths.

 It is Singularism’s earnest desire to engage in open, good faith, and constructive
 dialogue with your office to ameliorate any doubts or reservations regarding the
 legality of Singularism’s religious tenets. Such religious tenets are bona fide and span
 pages and pages of doctrine. Singularism extends an open invitation to discussion and
 remains at your disposal to provide clarity and to demonstrate adherence to safety,
 sincerity, and other established legal parameters.

 Singularism wishes to convey its unwavering commitment to lawfulness, openness, and
 productive engagement with the community it aspires to serve. To that end,
 Singularism has proactively reached out to the Mayor of Provo City and engaged with
 the State Attorney General's Office to advocate for its religious rights and the
 responsible use of entheogenic compounds for spiritual healing purposes.

 Singularism, in adherence to its religious doctrine, asserts that the safe and controlled
 utilization of entheogenic compounds is an intrinsic and necessary component of their
 sacramental practices. Singularism’s religious followers are sincere in their pursuit of
 these religious practices and maintain that entheogenic use is a central part of their
 belief system for adult members that wish to partake of their sacraments safely and
 privately. Singularism even screens its followers for religious sincerity before
 permitting any to engage in their ceremonies.

 Notably, Utah's jurisprudential landscape bears witness to this commitment in the
 recognition and protection afforded to the religious practices of the Native American
 Church, as well as other religious organizations. For example, Utah’s Controlled
 Substances Act contains a statutory religious exemption “in connection with the
 practice of a traditional Indian religion,” Utah Code § 58-37-8(12), as well as an
 exemption for medical use of cannabis, Utah Code § 58-37-3.7. Such underscores the
 jurisprudential path toward protecting the rights and practices of religious minorities
 like Singularism.

 In sum, allow me to reiterate Singularism’s appreciation for the unwavering dedication
 of your office in ensuring the safety and security of the citizens of Utah County.
 Singularism’s objective is to elucidate its practices and ensure an accurate
 comprehension of their legality, thereby fostering an environment in which diverse
 faiths can coexist harmoniously within the state.
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 Thank you for your time and consideration. Singularism eagerly anticipates the
 prospect of engaging in mutually beneficial discourse to address any concerns and to
 reinforce the lawful nature of Singularism’s religious activities.


                                       Sincerely,




                                       Tanner J. Bean
                                       FABIAN VANCOTT
